 Case: 4:14-cr-00318-RLW Doc. #: 181 Filed: 12/14/16 Page: 1 of 1 PageID #: 683

                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                          No: 16-4455

                                    United States of America

                                                     Appellee

                                                v.

                                       Robert S. Beyer, II

                                                     Appellant


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                 (4:14-cr-00318-RLW-1)
______________________________________________________________________________

                                            ORDER

       IT IS ORDERED that the Federal Public Defender for the Eastern District of Missouri is

hereby appointed to represent the above named appellant in all matters pertaining to this action

before this Court.


                                                      December 14, 2016




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 16-4455        Page: 1       Date Filed: 12/14/2016 Entry ID: 4479746
